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    Gerrit M. Pronske                                     James Sheehan
    State Bar No. 16351640                                Pro Hac Vice
    Eric M. Van Horn                                      Emily Stern
    State Bar No. 24051465                                Pro Hac Vice
    Jason P. Kathman                                      Monica Connell
    State Bar No. 24070036                                Pro Hac Vice
    SPENCER FANE LLP                                      Stephen Thompson
    2200 Ross Avenue, Suite 4800 West                     Pro Hac Vice
    Dallas, TX 75201                                      OFFICE OF THE ATTORNEY GENERAL
    (214) 750-3610 – Telephone                            OF THE STATE NEW OF NEW YORK
    (214) 750-3612 – Telecopier                           28 Liberty Street
    -and-                                                 New York, NY 10005
    5700 Granite Parkway, Suite 650                       (212) 416-8401 – Telephone
    Plano, TX 75024                                       Email: James.Sheehan@ag.ny.gov
    (972) 324-0300 – Telephone                            Email: Emily.Stern@ag.ny.gov
    (972) 324-0301 – Telecopier                           Email: Monica.Connell@ag.ny.gov
    Email: gpronske@spencerfane.com                       Email: Stephen.Thompson@ag.ny.gov
    Email: ericvanhorn@spencerfane.com
    Email: jkathman@spencerfane.com                       COUNSEL FOR THE PEOPLE OF
                                                          THE STATE OF NEW YORK, BY
    COUNSEL FOR THE PEOPLE OF                             LETITIA JAMES, ATTORNEY GENERAL
    THE STATE OF NEW YORK, BY                             OF THE STATE OF NEW YORK
    LETITIA JAMES, ATTORNEY GENERAL
    OF THE STATE OF NEW YORK

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

IN RE:                                                §
                                                      §     CASE NO. 21-30085-hdh-11
NATIONAL RIFLE ASSOCIATION                            §
OF AMERICA and SEA GIRT LLC,                          §     CHAPTER 11
                                                      §
Debtors1.                                             §     Jointly Administered

           OBJECTIONS TO DEBTORS’ DESIGNATIONS OF DEPOSTIONS AND
                      COUNTER-DESIGNATIONS THERETO

          The People of the State of New York, by Letitia James, Attorney General of the State of

New York (“NYAG”), a party in interest in the above-referenced bankruptcy case, files these

Objections to Debtors’ Designations of Depositions and Counter-Designations Thereto




1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.

OBJECTIONS TO DEBTORS’ DESIGNATIONS OF DEPOSITIONS AND COUNTER-DESIGNATIONS
THERETO                                                              Page 1 of 4
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(“Objections and Counter-Designations”) to the Debtors’ Designation of Deposition Testimony

[Docket No. 476] (the “Debtors’ Designations”).

                                    GENERAL OBJECTIONS

       The NYAG reserves the right to raise objections to testimony as it is read into the record

or played live at the hearing in this matter.

       To the extent that the Debtors sought or seek to introduce any exhibits through the Debtors’

Designations, the NYAG reserves the right to object if, and when, the Debtors move for the

admission of any exhibits into evidence.

       The NYAG reserves the right to amend or supplement these objections and counter-

designations.

                                    SPECIFIC OBJECTIONS

       The NYAG hereby incorporates by reference all objections raised by the NYAG raised on

the record of the deposition of William Wang, as Corporate Representative of the NYAG,

including all objections based upon the privilege of attorney/client communications, the work-

product privilege, and the questions asked being outside or beyond the scope.

                           [REMAINDER INTENTIONALLY BLANK]




OBJECTIONS TO DEBTORS’ DESIGNATIONS OF DEPOSITIONS AND COUNTER-DESIGNATIONS
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Dated: April 7, 2021.             Respectfully submitted,

                                          Eric M. Van Horn
                                          Gerrit M. Pronske
                                          State Bar No. 16351640
                                          Eric M. Van Horn
                                          State Bar No. 24051465
                                          Jason P. Kathman
                                          State Bar No. 24070036
                                          SPENCER FANE LLP
                                          2200 Ross Avenue, Suite 4800 West
                                          Dallas, Texas 75201
                                          (214) 750-3610 – Telephone
                                          (214) 750-3612 – Telecopier
                                          -and-
                                          5700 Granite Parkway, Suite 650
                                          Plano, Texas 75024
                                          (972) 324-0300 – Telephone
                                          (972) 324-0301 – Telecopier
                                          Email: gpronske@spencerfane.com
                                          Email: ericvanhorn@spencerfane.com
                                          Email: jkathman@spencerfane.com

                                                 – And –

                                          /s/ James Sheehan
                                          James Sheehan
                                          (NY Bar No. 4552055)
                                          Emily Stern
                                          (NY Bar No. 2647220)
                                          Monica Connell
                                          (NY Bar No. 3070943)
                                          Stephen Thompson
                                          (NY Bar No. 5390067)
                                          OFFICE OF THE ATTORNEY GENERAL
                                          OF THE STATE OF NEW YORK
                                          28 Liberty Street
                                          New York, NY 10005
                                          (212) 416-8401
                                          Email: James.Sheehan@ag.ny.gov
                                          Email: Emily.Stern@ag.ny.gov
                                          Email: Monica.Connell@ag.ny.gov
                                          Email: Stephen.Thompson@ag.ny.gov

                                          COUNSEL FOR THE PEOPLE OF
                                          THE STATE OF NEW YORK, BY
                                          LETITIA JAMES, ATTORNEY GENERAL
                                          OF THE STATE OF NEW YORK


OBJECTIONS TO DEBTORS’ DESIGNATIONS OF DEPOSITIONS AND COUNTER-DESIGNATIONS
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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 7, 2021, a true and correct copy of the foregoing Notice was
served upon all parties entitled to notice, including the Debtors, the United States Trustee, and
Official Committee of Unsecured Creditors via the Court’s electronic transmission facilities.

                                                     Eric M. Van Horn
                                                     Eric M. Van Horn




OBJECTIONS TO DEBTORS’ DESIGNATIONS OF DEPOSITIONS AND COUNTER-DESIGNATIONS
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